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‘ Case 0:23-cr-60010-RS Document i Entered on FLSD Docket 01/13/2023

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

23-60010-CR-SMITH/VALLE

Pagen.Of WAM pc

Jan 12, 2023

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
3.D. OF FLA. - MIAMI

Case No.

18 U.S.C. § 1349

18 U.S.C. § 1343

18 U.S.C. § 2

18 U.S.C. § 982(a)(1)

UNITED STATES OF AMERICA

VS.

LUDNIE JEAN,
SERGE JEAN,
SIMON ITAMAN,
ANNA ITAMAN,
RHOMY LOUIS, and
NADEGE AUGUSTE,

Defendants.
/

INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

At all times relevant to this Indictment:

Requirements to Become a Registered Nurse or Licensed Practical Nurse

1. The purpose of a professional nursing license was to protect the public from harm

by setting minimal qualifications and competencies for safe entry-level practitioners. Nursing was

regulated because it was one of the health professions that poses a risk of harm to the public if

practiced by someone who was unprepared and/or incompetent. Boards of Nursing achieved this

mission by establishing the standards for safe nursing care and issuing licenses to practice nursing.

2. According to the National Council of State Boards of Nursing, components of

licensure to be a Registered Nurse (RN) or a Licensed Practical/Vocational Nurse (LPN/VN)

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included verification of graduation from an approved pre-licensure nursing program, verification
of successful completion of the National Council Licensure Examination (NCLEX) also known as
“the board exam” or “the boards,” and in some states a criminal background check.

3. The Nurse Licensure Compact increased access to care while maintaining public
protection at the state level. Under the Nurse Licensure Compact, nurses can practice in other
Nurse Licensure Compact states, without having to obtain additional licenses. Approximately 39
states, including Florida and Texas, have enacted Nurse Licensure Compact legislation. The Nurse
Licensure Compact required that every RN or LPN/VN graduate from a board-approved RN or
LPN/VN prelicensure education program. Each state’s nursing board governed the approval of
nursing education programs.

4, The State of Florida enacted the Nurse Practice Act to ensure that every nurse
practicing in Florida meets minimum requirements for safe practice. Fla. Stat. §§ 464.001-464.027.
The Florida Board of Nursing was both a regulatory board and a state government agency legally
responsible for enforcing the state’s Nurse Practice Act. The Florida Board of Nursing was
responsible for establishing standards for safe nursing care and issuing licenses to practice nursing.
To do so, it oversaw education requirements and rules for licensure in Florida. Among these
requirements was that any person desiring to be licensed as an RN or LPN/VN had to complete
the requirements for graduation from an approved nursing program, or its equivalent as determined
by the board, for the preparation of registered nurses or licensed practical nurses, whichever was
applicable. For graduates of an approved program or equivalent, an applicant seeking certification
to take the licensure examination had to submit an official transcript or equivalent documentation

which identified all courses completed that met graduation requirements.
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5. According to Florida’s Nurse Practice Act, an approved pre-licensure program’s
curriculum has to consist of:

a. For a practical nursing education program, at least fifty percent clinical
training.

b. A practical nursing education program curriculum plan must document
clinical experience and theoretical instruction in medical, surgical, obstetric, pediatric, and
geriatric nursing. The curriculum plan must document clinical training experience in appropriate
settings that include, but are not limited to, acute care, long-term care, and community settings.

c. A practical nursing education program that provides theoretical instruction
and clinical application in personal, family, and community health concepts; nutrition; human
growth and development throughout the life span; body structure and function; interpersonal
relationship skills; mental health concepts; pharmacology and administration of medications; and
legal aspects of practice.

6. The Texas Board of Nursing aimed to protect and promote the welfare of its citizens
by ensuring that each person holding a license as a nurse in its state was competent to practice
safely. The Board fulfilled its mission through the regulation of the practice of nursing and the
approval of nursing educational programs. Chapter 301 of the Texas Occupations Code contains
the Nursing Practice Act which created the Board of Nursing and defined its responsibility for
regulating nursing education, licensure, and practice. The Texas Board of Nursing required that
for a person to be certified as a graduate of any school of nursing or educational program, that
person must have completed the requirements of the prescribed course of study, including clinical
practice, of a school of nursing or educational program that (1) was approved by the board; (2)

was accredited by a national nursing accreditation agency determined by the board to have
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acceptable standards; or (3) was approved by a state board of nursing of another state and the
board.

Defendants and Related Individuals and Entities

7. Sacred Heart International Institute Inc. (Sacred Heart) was a Florida corporation
located at 3601 W Commercial Boulevard, Suite 16, Fort Lauderdale, Florida. Sacred Heart was
licensed by the Florida Board of Nursing as a nursing education program on or about May 13,

' 2014. According to Sacred Heart’s website, it offered a Practical Nursing Program and “the
objective of this program is to prepare students for employment as a practical nurse.”

8. Nursing Bridges Incorporated (Nursing Bridges) was a Texas company and its
listed business address was 14421-14425 Cornerstone Village Drive, Houston, Texas. According
to Nursing Bridge’s website, its mission was “to educate and inspire the next generation of
healthcare professionals.”

9. United Hearts Consultants was a Florida company with a listed business address in
Broward County, Florida, that operated as a New York business partnership at 96-09 Springfield
Boulevard, Queens Village, New York.

10.  Jean’s NCLEX Review LLC (Jean’s NCLEX) was a Texas company, and its listed
business address was 16103 W. Little York, Suite C, Houston, Texas.

11. Defendant SIMON ITAMAN, a resident of Harris County, Texas, owned and
operated Nursing Bridges.

12. Defendant ANNA ITAMAN, a resident of Harris County, Texas, and SIMON
ITAMAN’s wife, also owned and operated Nursing Bridges.

13. Defendant RHOMY LOUIS, a resident of Suffolk County, New York, owned and

operated United Hearts Consultants. LOUIS also worked with SIMON ITAMAN and ANNA
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ITAMAN at Nursing Bridges.

14. Defendant NADEGE AUGUSTE, a resident of Broward County, Florida, operated
United Hearts Consultants.

15. Defendant LUDNIE JEAN, a resident of Harris County, Texas, owned and
operated Jean’s NCLEX. Prior to owning and operating Jean’s NCLEX, LUDNIE JEAN was
employed by SIMON ITAMAN and ANNA ITAMAN at Nursing Bridges.

16. Defendant SERGE JEAN, a resident of Harris County, Texas, and LUDNIE
JEAN’s husband, also owned and operated Jean’s NCLEX.

17. Co-conspirator 1, a resident of Palm Beach County, Florida, owned and operated
Sacred Heart.

18. | Co-conspirator 2 obtained a diploma and transcript issued January 31, 2019, by
Sacred Heart purporting to show that he/she attended Sacred Heart and completed the necessary
courses and/or clinicals to obtain a Licensed Practical Nursing diploma.

19. Co-conspirator 3 obtained a diploma and transcript issued January 31, 2020, by
Sacred Heart purporting to show that he/she attended Sacred Heart and completed the necessary
courses and/or clinicals to obtain a Licensed Practical Nursing diploma.

20. Co-conspirator 4 obtained a diploma and transcript issued October 31, 2020, by
Sacred Heart purporting to show that he/she attended Sacred Heart and completed the necessary
courses and/or clinicals to obtain a Licensed Practical Nursing diploma.

21. Health Care Provider-1 (HCP-1) was a skilled nursing care facility located in Texas
that employed licensed nurses to care for elderly patients.

22. Health Care Provider-2 (HCP-2) was a skilled nursing care facility located in Texas

that employed licensed nurses to care for elderly patients.
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23. Health Care Provider-3 (HCP-3) was a home health facility located in Texas that
employed licensed nurses to care for homebound patients.
COUNT 1
Conspiracy to Commit Wire Fraud
(18 U.S.C. § 1349)
1. The General Allegations section of this Indictment is re-alleged and incorporated
by reference as if fully set forth herein.
2. From at least as early as in or around January of 2017, and continuing through in
or around November of 2022, in Broward and Palm Beach Counties, in the Southern District of .
Florida, and elsewhere, the defendants,
LUDNIE JEAN,
SERGE JEAN,
SIMON ITAMAN,
ANNA ITAMAN,

RHOMY LOUIS, and
NADEGE AUGUSTE,

did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,
conspire, confederate, and agree with each other, and with Co-conspirators 1-4, and others known
and unknown to the Grand Jury, to commit wire fraud, that is, to knowingly and with the intent to
defraud, devise and intend to devise a scheme and artifice to defraud and for obtaining money and
property by means of materially false and fraudulent pretenses, representations, and promises,
knowing the pretenses, representations, and promises were false and fraudulent when made, and
for the purpose of executing the scheme and artifice, did knowingly transmit and cause to be
transmitted by means of wire communication in interstate and foreign commerce, certain writings,
signs, signals, pictures and sounds, in violation of Title 18, United States Code, Section 1343.

Purpose of the Conspiracy

3. It was the purpose of the conspiracy for the defendants and their co-conspirators
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to unlawfully enrich themselves by, among other things: (a) soliciting and recruiting co-
conspirators, via interstate wire communications, seeking nursing credentials to obtain
employment as an LPN/VN in the health care field; (b) creating and distributing, via interstate
wire communications, false and fraudulent diplomas and transcripts for co-conspirators seeking
LPN/VN licensure and employment in the health care field; (c) using the false and fraudulent
documents to obtain employment, pay, and other benefits in the health care field; (d) concealing
the use of fraudulent documents used to obtain employment in the health care field; and (e) using
the proceeds of the conspiracy for their personal use and benefit, and the use and benefit of others,
and to further the conspiracy.

Manner and Means of the Conspiracy

The manner and means by which the defendants and their co-conspirators sought to
accomplish the obj ect and purpose of the conspiracy included, among others, the following:

4, LUDNIE JEAN, SERGE JEAN, SIMON ITAMAN, ANNA ITAMAN,
RHOMY LOUIS, NADEGE AUGUSTE, and others, via interstate wire communications,
solicited and recruited co-conspirators, including Co-conspirators 2-4, and others, seeking nursing
credentials and employment as an LPN/VN in the health care field.

5. LUDNIE JEAN, SERGE JEAN, SIMON ITAMAN, ANNA ITAMAN,
RHOMY LOTIS, and NADEGE AUGUSTE, together with Co-conspirator 1 and others, sent
and caused others to send, via interstate wire communications, information used to create false and
fraudulent official transcripts and diplomas from Sacred Heart.

6. LUDNIE JEAN, SERGE JEAN, SIMON ITAMAN, ANNA ITAMAN,
RHOMY LOUIS, and NADEGE AUGUSTE, together with Co-conspirator 1 and others,

created and distributed, via interstate wire communications, false and fraudulent transcripts and
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diplomas to co-conspirators, including Co-conspirators 2-4, and others, falsely and fraudulently
representing that the co-conspirators attended Sacred Heart in Florida and completed the necessary
courses and/or clinicals to obtain LPN/VN diplomas, when in fact the co-conspirators had never
actually completed the necessary courses and/or clinicals.

7. In furtherance of the conspiracy, co-conspirators including Co-conspirators 2-4,
and others, used the false and fraudulent diplomas and transcripts and other records created and
distributed by LUDNIE JEAN, SERGE JEAN, SIMON ITAMAN, ANNA ITAMAN,
RHOMY LOUIS, NADEGE AUGUSTE, to obtain licensure as an LPN/VN in various states,
including Texas.

8. Co-conspirators, including Co-conspirators 2-4, and others, used the false and
fraudulent diplomas, transcripts and other documents created and distributed by LUDNIE JEAN,
SERGE JEAN, SIMON ITAMAN, ANNA ITAMAN, RHOMY LOUIS, NADEGE
AUGUSTE, Co-conspirator 1, and others, to fraudulently obtain employment and benefits as an
LPN/VN at various unwitting health care providers throughout the country, including at HCP-1,
HCP-2, and HCP-3. Those health care providers hired and paid salaries, wages, and other benefits
to the LPN/VNs based on their fraudulent credentials.

9. LUDNIE JEAN, SERGE JEAN, SIMON ITAMAN, ANNA ITAMAN,
RHOMY LOUIS, NADEGE AUGUSTE, together with Co-conspirators 1-4 and others, used
the proceeds of the conspiracy for their personal use and benefit, and to further the conspiracy.

All in violation of Title 18, United States Code, Section 1349.
COUNTS 2-9
Wire Fraud

(18 U.S.C. § 1343)

1. The General Allegations section of this Indictment is realleged and incorporated
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by reference as if fully set forth herein.

2. From at least as early as in or around January of 2017, and continuing through in
or around November of 2022, in Broward and Palm Beach Counties, in the Southern District of
Florida, and elsewhere, the defendants,

LUDNIE JEAN,
SERGE JEAN,
SIMON ITAMAN,
ANNA ITAMAN,
RHOMY LOUIS, and
NADEGE AUGUSTE,
did knowingly, and with the intent to defraud, devise and intend to devise a scheme and artifice to
defraud and for obtaining money and property by means of materially false and fraudulent
pretenses, representations, and promises, knowing the pretenses, representations, and promises
were false and fraudulent when made, and for the purpose of executing the scheme and artifice,
did knowingly transmit and cause to be transmitted by means of wire communication in interstate
and foreign commerce, certain writings, signs, signals, pictures and sounds, in violation of Title

18, United States Code, Section 1343.

Purpose of the Scheme and Artifice

3. It was a purpose of the scheme and artifice for the defendants and their
accomplices to unlawfully enrich themselves by, among other things: (a) soliciting and recruiting
accomplices, via interstate wire communications, seeking nursing credentials to obtain
employment as an LPN/VN in the health care field; (b) creating and distributing, via interstate
wire communications, false and fraudulent diplomas and transcripts for accomplices seeking
LPN/VN licensure and employment in the health care field; (c) using the false and fraudulent
documents to obtain employment, pay, and other benefits in the health care field; (d) concealing

the use of fraudulent documents used to obtain employment in the health care field; and (e) using
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the proceeds of the fraud or their personal use and benefit, and the use and benefit of others, and

to further the fraud.

The Scheme and Artifice

4. Paragraphs 4 through 9 of the Manner and Means section of Count 1 of this
Indictment are re-alleged and incorporated by reference as though fully set forth herein as a
description of the scheme and artifice.

Use of the Wires

5. On or about the dates set forth below, in the Southern District of Florida, and
elsewhere, the defendants, as specified below, for the purposes of executing the above-described
scheme and artifice to defraud, did knowingly transmit and cause to be transmitted by means of

wire communication in interstate and foreign commerce, certain writings, signs, signals, pictures

and sounds as described below:

Count | Defendant(s) Approx. Description of Wire Transmission
Date

2 SIMON 02/08/2019 | Email from Co-Conspirator 1 to SIMON ITAMAN
ITAMAN and ANNA ITAMAN in which he/she provided
and ANNA nursing licensure instructions for their students who
ITAMAN never attended Sacred Heart

3 SIMON 03/04/2019 | Email sent from ANNA ITAMAN to Co-conspirator 1
ITAMAN and SEMON ITAMAN listing names and grades of
and ANNA accomplice nursing applicants seeking to obtain Sacred
ITAMAN Heart diplomas and transcripts

4 SIMON 04/18/2019 | Bank of America wire payment in the amount of
ITAMAN $9,696, from SEMON ITAMAN to Co-Conspirator 1
and ANNA for Sacred Heart diplomas and transcripts
ITAMAN

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Count | Defendant(s) | Approx. Description of Wire Transmission
Date
5 RHOMY 10/17/2019 | Email sent from Co-conspirator 1 to RHOMY LOUIS
LOUIS and verifying the submission of accomplice nursing
NADEGE applicants to the Florida Board of Nursing as Sacred
AUGUSTE Heart graduates
6 LUDNIE 05/14/2020 | Email sent from Co-conspirator 1 to LUDNIE JEAN
JEAN and and SERGE JEAN with the subject line “LPN
SERGE Graduate list” that contained an attachment consisting
JEAN of student names whom Co-Conspirator 1 processed for
LUDNIE JEAN and SERGE JEAN through the
Florida Board of Nursing
7 LUDNIE 10/29/2020 | Email sent from LUDNIE JEAN to Co-conspirator 1
JEAN and containing names: and identifying information of
SERGE nursing applicants seeking to obtain Sacred Heart
JEAN diplomas and transcripts
8 LUDNIE 12/01/2020 | Email sent from Co-conspirator 1 to LUDNIE and
JEAN and SERGE JEAN with the subject line “New Graduates
SERGE _ list” that contained an attachment consisting of student
JEAN names whom Co-Conspirator | processed for LUDNIE
JEAN and SERGE JEAN through the Florida Board
of Nursing
9 LUDNIE 01/21/2021 | Text message from LUDNIE JEAN to Co-Conspirator
JEAN and 1 stating “Please don’t forget to bring the stamps for
SERGE official transcripts and diplomas.”
JEAN

In violation of Title 18, United States Code, Sections 1343 and 2.

1.

FORFEITURE

(18 U.S.C. § 981(a)(1)(©))

The allegations contained in this Indictment are hereby re-alleged and by this

reference fully incorporated herein for the purpose of alleging forfeiture to the United States of

certain property in which any of the defendants, LUDNIE JEAN, SERGE JEAN, SEMON

ITAMAN, ANNA ITAMAN, RHOMY LOUIS, and NADEGE AUGUSTE, has an interest.

2.

Upon conviction of a violation, or conspiracy to commit a violation, of Title 18,

United States Code, Section 1343, as alleged in this Indictment, the defendant shall forfeit to the

United States any property, real or personal, which constitutes or is derived from proceeds

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traceable to such offense, pursuant to Title 18, United States Code, Section 981(a)(1)(C).
All pursuant to Title 18, United States Code, Section 981(a)(1)(C); and the procedures set
forth at Title 21, United States Code, Section 853, as made applicable by Title 28, United States

Code, Section 2461(c) and Title 18, United States Code, Section 982(b)(1).

A TRUE BILL

FOREPERSO

MARKENZ LAHOINTE.
Aw TED STATES ATTORNEY

CHRISTOPHER J> CLARK
ASSISTANT UNITED STATES ATTORNEY

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.:
v.
LUDNIE JEAN, et al., CERTIFICATE OF TRIAL ATTORNEY*
/ Superseding Case Information:
Defendant.

Court Division (select one) New Defendant(s) (Yes or No)

Miami [1 Key West [IFTP Number of New Defendants

FTL [] WPB Total number of New Counts
I “ > hereby certify that:

I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.

2. Tam aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

3. Interpreter: (Yes or No) No
List language and/or dialect:

4, This case willtake_8 days for the parties to try.

5. Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I Oto 5days- 1 Petty

II 6 to 10 days E7] Minor

Il [111 to 20 days Misdemeanor
IV E121 to 60 days Felony

V [£161 days and over

6. Has this case been previously filed in this District Court? (Yes or No) No _
If yes, Judge Case No.

7. Has acomplaint been filed in this matter? (Yes or No) No
If yes, Magistrate Case No.

8. Does this case relate to a previously filed matter in this District Court? (Yes or No) Yes .
If yes, Judge Dimitrouleas Case No. 21-CR-60198

9. Defendant(s) in federal custody as of

10. Defendant(s) in state custody as of

11. Rule 20 from the District of

12. Is this a potential death penalty case? (Yes or No) No _

13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No _

14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No _

» SRO SE.

ChristSpher J. Clark
Assistant United States Attorney

FLA Bar No. 588040

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: LUDNIE JEAN

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Counts #6-9:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Counts #:

* Max. Term of Imprisonment: |

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: SERGE JEAN

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Counts #6-9:

Wire Fraud

Title 18, United States Code, Section 1343
: * Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: SIMON ITAMAN

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):.

* Max. Supervised Release: 3 Years :

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Counts #2-4:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: ANNA JTAMAN

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts #2-4:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: RHOMY LOUIS

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of bmprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Count #5:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: NADEGE AUGUSTE

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years .

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Count #5:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross gain or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
